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AO 245B        (Rev. 09/13) Judgment in a Criminal Case
               Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                    Southern        District of         Indiana
                                                                           )
           UNITED STATES OF AMERICA                                        )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                 ZACHARY SCOTT JOHN                                        )      Case Number: 1:15CR00120-004
                                                                           )
                                                                                  USM Number: 12742-028
                                                                           )
                                                                           )      Joseph M. Cleary
                                                                                  Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s) 1
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

   Title & Section             Nature of Offense                                                         Offense Ended           Count
21 U.S.C. §§ 841(a)(1)         Conspiracy to Manufacture and Distribute 50 Kilograms or More               6/10/2015               1
       and 846                 of Marijuana




       The defendant is sentenced as provided in pages 2 through                  4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s) 2&3                                                is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                        5/26/2016
                                                                        Date of Imposition of Judgment



          A CERTIFIED TRUE COPY                                           __________________________________
                                                                        Signature of Judge
          Laura A. Briggs, Clerk                                          RICHARD L. YOUNG, CHIEF JUDGE
          U.S. District Court
          Southern District of Indiana                                    United
                                                                        The       States
                                                                            Honorable      District
                                                                                      Richard       CourtU.S. District Court Chief Judge
                                                                                               L. Young,
                                                                          Southern   District of
                                                                        Name and Title of Judge   Indiana
          By
                                Deputy Clerk
                                                                         6/15/2016
                                                                        Date
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             Sheet 4—Probation
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 DEFENDANT: ZACHARY SCOTT JOHN
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                                                                   PROBATION
 The defendant is hereby sentenced to probation for a term of : 2 years.


  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
 controlled substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic
 drug tests thereafter.
        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16913, et
        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
        resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.

             The defendant must comply with the conditions listed below:



                                                 CONDITIONS OF SUPERVISION
   1.     You shall report to the probation officer in a manner and frequency directed by the court or probation officer.

   2.     You shall permit a probation officer to visit you at a reasonable time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer.

   3.     You shall not knowingly leave the judicial district without the permission of the court or probation officer.

   4.     You shall answer truthfully the inquiries by the probation officer, subject to your 5th Amendment privilege.

   5.     You shall not meet, communicate, or otherwise interact with a person you know to be engaged, or planning to be engaged, in criminal activity.
          You shall report any contact with persons you know to be convicted felons to your probation officer within 72 hours of the contact.

   6.     You shall reside at a location approved by the probation officer and shall notify the probation officer at least 72 hours prior to any planned
          change in place or circumstances of residence or employment (including, but not limited to, changes in residence occupants, job positions,
          job responsibilities). When prior notification is not possible, you shall notify the probation officer within 72 hours of the change.

   7.     You shall not own, possess, or have access to a firearm, ammunition, destructive device or dangerous weapon.

   8.     You shall notify the probation officer within 72 hours of being arrested, charged, or questioned by a law enforcement officer.

   9.     You shall maintain lawful full time employment, unless excused by the probation officer for schooling, vocational training, or other reasons
          that prevent lawful employment.

   10. You shall make a good faith effort to follow instructions of the probation officer necessary to ensure compliance with the conditions of
       supervision.
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     11. You shall provide the probation officer access to any requested financial information and shall authorize the release of that information to
         the U.S. Attorney’s Office for use in connection with the collection of any outstanding fines and/or restitution.

     12. You shall participate in a substance abuse or alcohol treatment program approved by the probation officer and abide by the rules and
         regulations of that program. The probation officer shall supervise your participation in the program (provider, location, modality, duration,
         intensity, etc.). You shall pay some or all of the costs of such treatment, if financially able.

     13. You shall not use or possess any controlled substances prohibited by applicable state or federal law, unless authorized to do so by a valid
         prescription from a licensed medical practitioner. You shall follow the prescription instructions regarding frequency and dosage.

     14. You shall submit to substance abuse testing to determine if you have used a prohibited substance or to determine compliance with substance
         abuse treatment. Testing may include no more than 8 drug tests per month. You shall pay some or all of the costs of testing, if financially
         able. You shall not attempt to obstruct or tamper with the testing methods.

     15. You shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g., synthetic marijuana,
         bath salts, Spice, glue, etc.) that impair a person’s physical or mental functioning, whether or not intended for human consumption.

     16. You shall submit to the search by the probation officer of your person, vehicle, office/business, residence, and property, including any
         computer systems and hardware or software systems, electronic devices, telephones, and Internet-enabled devices, including the data
         contained in any such items, whenever the probation officer has a reasonable suspicion that a violation of a condition of supervision or other
         unlawful conduct may have occurred or be underway involving you and that the area(s) to be searched may contain evidence of such violation
         or conduct. Other law enforcement may assist as necessary. You shall submit to the seizure of contraband found by the probation officer.
         You shall warn other occupants these locations may be subject to searches.


I understand that I and/or the probation officer may petition the Court to modify these conditions, and the final decision to modify these terms lies with
the Court. If I believe these conditions are being enforced unreasonably, I may petition the Court for relief or clarification; however, I must comply
with the directions of my probation officer unless or until the Court directs otherwise. Upon a finding of a violation of probation or supervised release,
I understand that the court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the condition of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


 (Signed)
                                    Defendant                                                    Date


                                    U.S. Probation Officer/Designated Witness                    Date
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            Sheet 5 — Criminal Monetary Penalties
                                                                                                       Judgment — Page    3    of    4
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                                             CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                    Fine                                 Restitution
  TOTALS             $ 100.00                                      $                                    $

       The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

           Name of Payee                         Total Loss*                     Restitution Ordered               Priority or Percentage




  TOTALS                                $                                 $

        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
        subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             the interest requirement is waived for the        fine           restitution.

             the interest requirement for the           fine     restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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             Sheet 6 — Schedule of Payments

                                                                                                                     Judgment — Page      4    of    4
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                                                         SCHEDULE OF PAYMENTS
   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

   A             Lump sum payment of $                                  due immediately, balance due

                       not later than                                        , or
                       in accordance                    C,        D,             E, or        G below; or
   B             Payment to begin immediately (may be combined with                      C,            D, or           G below); or
   C             Payment in                             (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                                (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

   D             Payment in                                (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or
   E             Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
   F             If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
                 restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
                 amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
   G             Special instructions regarding the payment of criminal monetary penalties:



   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
   is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

              Joint and Several
              Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
              Amount, and corresponding payee, if appropriate.
                              Defendant Name                                     Case Number                           Joint & Several Amount




              The defendant shall pay the cost of prosecution.
              The defendant shall pay the following court cost(s):
              The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
